Case: 4:23-cv-00955-CDP           Doc. #: 67 Filed: 04/11/25 Page: 1 of 1 PageID #:
                                            1344
                                 US Court of Appeals - Eighth Circuit
                                         NOA Supplement
Caption:                                                                   USCA#:
  Simon v. Jones et al


Case Number:
  4:23-CV-00955-CDP

Plaintiff:                                     Defendant:
  YITZCHAK SIMON                                TISHAURA ONEDA JONES, et al.


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Court Reporter(s):                             Please return files and documents to:
  None                                          Clerk for Eastern District of Missouri

                                               Person to contact about the appeal:
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 Length of trial          Fee:                  IFP:                           Pending IFP Motion
 N/A                      PAID                     None                        No

 Counsel:                 Pending Motions:      Local Interest:                Simultaneous Release:
 Yes                      No                       No                          No


Criminal Cases/Prisoner Pro Se Cases Only:
  Is defendant incarcerated?: No          Where:

Please list all other defendants in this case if there were multiple defendants:
